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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                  DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                )
                                                        )     Case No.
 v.                                                     )
                                                        )     Under Seal
DEMETRIUS MINOR,                                        )
                                                        )
                 Defendant.                             )

                              AFFIDAVIT IN SUPPORT OF A
                       CRIMINAL COMPLAINT AND ARREST WARRANT

          I, John C. Donovan, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

          1.     I am “an investigative or law enforcement officer” of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States who

is empowered by law to conduct investigations of and to make arrests for offenses enumerated in

Section 2516 of Title 18, United States Code. I have been employed by ATF since November 2016

and am assigned to ATF Washington Field Division’s Firearms Trafficking Group. My assignments

include investigating individuals who are involved in the illegal purchase, possession, and transfer of

firearms, and violent crimes involving firearms. Since working for the ATF, I have graduated from

the Criminal Investigator Training Program and ATF Special Agent Basic Training. As a law

enforcement officer, I am authorized to execute warrants issued under the authority of the United

States.


          2.     I base the facts set forth in this affidavit upon my personal knowledge, information

obtained during my participation in this investigation, review of documents to include business and

official government records, knowledge obtained from other individuals including law enforcement

personnel, and communications with others who have personal knowledge of the events and

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circumstances described herein. Because this affidavit is being submitted for the limited purpose of

enabling this Court to make a judicial determination of probable cause to issue an arrest warrant, I

have not included each and every fact known to me concerning this investigation. I have set forth

only the facts that I believe are necessary to establish the legal basis for probable cause and the

issuance of an arrest warrant.


       3.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 18 U.S.C. §§ 922(a)(5) (“Interstate Transfer”), 922(d) (“Sell or Otherwise Dispose to a

Prohibited Person”), § 924(a)(1)(A) (“Illegal Dealing of Firearms”), and § 371 (“Conspiracy to

Violate Federal Firearms Laws”, to include 18 U.S.C. §§ 922(a)(5), 922(d), 922(g)(1) (“Unlawful

Possession of a Firearm by a Prohibited Person”), and 924(a)(1)(A)) have been and are being

committed by Demetrius MINOR, as well as known and unknown coconspirators.


                                        PROBABLE CAUSE



   A. Recovery of Firearms

       4.      On November 17, 2021, in Washington, D.C., MPD officers were conducting

proactive patrol at the intersection of 7th Street NE and Girard Street NE, Washington, D.C. where

they observed a large amount of marijuana inside a black Honda Accord. The quantity of marijuana

was in excess of the quantity an individual may possess for personal use. The officers initiated a

search of the vehicle. While searching the vehicle for additional contraband, a firearm was recovered

from the glovebox. That firearm was a Ruger-57, 5.7x28mm pistol, bearing a serial number 641-

71586 (hereinafter “GUN A”). ATF conducted a trace of GUN A, which showed that Demetrius

MINOR of Maryland was the original purchaser. The firearm was transferred from Engage

Armament, a Federal Firearms Licensee (FFL), to MINOR on July 28, 2021. The firearm and

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narcotics were seized as evidence of armed narcotics trafficking.

       5.      On November 27, 2021, at approximately 1:43 AM, MPD responded to a call for an

aggravated assault near 2319 Chester Street SE, Washington, D.C. When MPD responded to the

location, they encountered an individual later identified as Conspirator-1, who was armed with a

rifle. CONSPIRATOR-1 ignored multiple commands to drop the rifle, at which time an MPD officer

discharged their service weapon. At this time, CONSPIRATOR-1 dropped the rifle and entered a

black BMW X5, with VA tag UBC-9440, and drove away. CONSPIRATOR-1 eventually exited his

vehicle and continuing to flee on foot. CONSPIRATOR-1 initially evaded MPD, and a Springfield

XDS-45, .45 caliber pistol, serial number XS679933 (hereinafter “GUN B”) and a cell phone were

recovered in CONSPIRATOR-1’s flight path.

       6.      The complaining witness in the assault case, CONSPIRATOR-1’s ex-wife, later

identified the cell phone recovered in the flight path as belonging to CONSPIRATOR-1. The

complaining witness also stated that CONSPIRATOR-1 had been attending a housewarming party at

her house when he became agitated and returned with a handgun. At that time, CONSPIRATOR-1

began pointing the handgun at peoples’ heads. CONSPIRATOR-1 was pushed out of the apartment

and the handgun was taken by CONSPIRATOR-1’s stepson. CONSPIRATOR-1 subsequently

returned to the apartment with a rifle and took the handgun back before MPD arrived.

       7.      CONSPIRATOR-1 was eventually arrested outside of 5201 Hayes Street NE, Apt

213, Washington, D.C. around 5:20 AM on November 27, 2021 (several hours after he had fled from

police).

       8.      Based on a review of records, GUN B was transferred from United Gun Shop, an

FFL, to MINOR on August 13, 2021, and a National Crime Information Center query revealed that

GUN B had been reported stolen to the Montgomery County Police by MINOR at approximately



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21:41 on November 27, 2021, the same day as the incident involving CONSPIRATOR-1.

      B. Retrieval of ATF Form 4473s and Security Video

         9.       Based on the results of the ATF trace of GUN A and the stolen report of GUN B, on

November 30, 2021, ATF Special Agent (“SA”) Rebekah Moss telephoned Engage Armament,

located at 701 E. Gude Drive, #101, Rockville, Maryland 20850, about Demetrius MINOR and the

purchase of GUN A. An employee stated that he remembered MINOR and further stated that

MINOR had been in the store on November 26, 2021 and had purchased a firearm. He stated that

Maryland has a seven day hold from the time a pistol was purchased until the date it could be picked

up, so MINOR could come in on Friday, December 3, 2021, to pick up the firearm.

         10.      On December 1, 2021, Special Agent Rebekah Moss retrieved copies of the Firearms

Transaction Records (“ATF Form 4473”) from Engage Armament for the transfer of more than 25

firearms to MINOR during a period of time from April of 2021 through September of 2021. These

firearms transfers are listed below1:

     Transfer      Manufacturer         Model           Caliber       Type         Serial
     Date                                                                          Number

     04/06/2021 Taurus                  PT111 G2A       9mm           Pistol       ACA475492

     04/14/2021 Glock                   19X             9mm           Pistol       BTDV743

     04/16/2021 Glock                   17 Gen 5        9mm           Pistol       BTBG105

     05/11/2021 Glock                   26              9mm           Pistol       BSMB754

     05/11/2021 Glock                   43              9mm           Pistol       AFFN936

     06/05/2021 Glock                   26              9mm           Pistol       BTEX642

     06/05/2021 Glock                   27 Gen 3        .40 caliber   Pistol       BTFD468

     06/05/2021 Glock                   43              9mm           Pistol       AEXZ257


1
    The information listed is based on the ATF Form 4473s obtained from Engage Armament.
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  06/09/2021 Taurus                 G3C             9mm        Pistol        ACB520645

  06/09/2021 Pioneer Arms Corp Hellpup              7.62x39    Pistol        PAC1150019

  06/09/2021 Taurus                 G3              9mm        Pistol        ACA456782

  06/19/2021 Glock                  17 Gen 5        9mm        Pistol        BTNB564

  06/23/2021 Umarex/Heckler & 416 D                 22LR       Rifle         HB046753
             Koch

  07/16/2021 Springfield            XD-9            9mm        Pistol        BY499104
             Armory

  07/24/2021 Taurus                 G3              9mm        Pistol        ABK980872

  07/28/2021 Ruger                  57              5.7x28mm Pistol          641-71586
             “GUN A”
  07/28/2021 Glock                  20SF            10mm       Pistol        BSRA376

  07/31/2021 Glock                  17 Gen 5 MOS    9mm        Pistol        BTBT052

  08/06/2021 Ruger                  57              5.7x28mm Pistol          641-75252

  08/06/2021 Glock                  31 Gen 3        .357 Sig   Pistol        BNWB953

  08/06/2021 Glock                  29 Gen 4        10mm       Pistol        BSRR171

  08/06/2021 Springfield            Hellcat         9mm        Pistol        BY589829
             Armory

  08/26/2021 Taurus                 PT111 G2A       9mm        Pistol        ACD763836

  08/26/2021 Taurus                 G2S             9mm        Pistol        ACD835962

  08/28/2021 Glock                  48              9mm        Pistol        BSTW539

  09/15/2021 Glock                  43X             9mm        Pistol        BUEH697



       11.     Another employee at Engage Armament, downloaded the FFL’s surveillance video

for the time MINOR was at the FFL on November 26, 2021, and provided it to SA Moss. The video

depicted MINOR handling a firearm inside the FFL.


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          12.     The staff member also provided the ATF Form 4473 and receipt for a Glock 30S, .45

caliber pistol, bearing S/N: BUSY628 (hereinafter “GUN C”) that MINOR had purchased on

November 26, 2021, and was awaiting the seven days to pass before he could retrieve GUN C.

          13.     On December 1, 2021, SA Rebekah Moss retrieved copies of the ATF Form 4473 for

MINOR’s firearm purchases from United Gun Shop, located at 5465 Randolph Road, Rockville, MD

20852, where GUN B was purchased. A manager at United Gun Shop, provided SA Moss copies of

the ATF Form 4473s and related paperwork. The firearms transferred to MINOR from United Gun

Shop are listed below2:

    Transfer      Manufacturer     Model          Caliber          Type         Serial Number
    Date

    5/05/2020     Hammerli         TAC R1 22C     22LR             Rifle        HA012265

    8/13/2021     Springfield      XDS 45         .45              Pistol       XS679933
                  “GUN B”
    8/17/2021     Glock            23             9mm              Pistol       VCU219

    8/21/2021     Century Arms     Draco          7.62x39          Pistol       21PF-8378

    10/05/2021 Glock               23             .40 caliber      Pistol       CFH856

    10/05/2021 Century Arms        Draco          7.62x39          Pistol       SV7P004515



          14.     On December 7, 2021, your affiant went to Atlantic Guns, an FFL located at 15813

Frederick Road, Rockville, MD 20855, to retrieve copies of the ATF Form 4473s for the transfers of

firearms to MINOR.




2
    The information listed is based on the ATF Form 4473s obtained from the United Gun Shop.
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         15.      Your affiant spoke with an employee at Atlantic Guns who provided the ATF Form

4473s for the purchases of the following firearms to MINOR. The firearms transferred to MINOR

from Atlantic Guns are listed below3:

     Transfer      Manufacturer     Model           Caliber          Type         Serial Number
     Date

     10/20/2020    Steyr            M40-A1          .40              Pistol       046761

     01/15/2021    Stoeger          STR-9           9mm              Pistol       T6429-
                                                                                  20U12208

     03/20/2021    Glock            G17             9mm              Pistol       BSHA227

     08/04/2021     Taurus          G2C             9mm              Pistol       1C050673

     08/13/2021    Taurus           G3              9mm              Pistol       ACG067178

     08/14/2021    Glock            19X             9mm              Pistol       BTYW081

     09/04/2021    Taurus           PT 24/7         9mm              Pistol       TAN19946



         16.      Upon later review of the ATF Form 4473s (October 2016 Edition) from the firearm

transfers that took place on May 5, 2020, and October 20, 2020, it was noted that MINOR checked

“Yes” in Block 11a, which states “Are you the actual transferee/buyer of the firearm(s) listed on this

form?”, affirming that he was the actual transferee/buyer of the firearm listed in Blocks 24 through

28 on the form. Block 14 on both ATF Form 4473s was signed by MINOR, certifying that his

answers in Section A were true, correct, and complete.

         17.      Upon later review of the ATF Form 4473s (May 2020 Edition) from the firearm

transfers that took place on January 15, 2021, and later, it was noted that MINOR checked “Yes” in

Block 21a, which states “Are you the actual transferee/buyer of the firearm(s) listed on this form and

any continuation sheet(s) (ATF Form 5300.9A)?”, affirming that he was the actual transferee/buyer

3
    The information listed is based on ATF Form 4473s obtained from Atlantic Guns.
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of the firearm listed in Blocks 1 through 5 on the forms. Block 22 on each of the ATF Form 4473s

was signed by MINOR, certifying that his answers in Section B were true, correct, and complete.

   C. Review of Security Video from Engage Armament

       18.     ATF reviewed the surveillance video from Engage Armament from November 26,

2021, which showed MINOR enter the store wearing glasses, black pants, black t-shirt and black hat.

Two young females also entered the store with MINOR. For a few minutes, MINOR looked at

several firearms. MINOR completed the required paperwork for the firearm purchase and then paid

cash. Soon after MINOR and the unidentified females exited the store and walked to a white SUV

with dark colored wheels which was parked outside of Engage Armament. They entered the vehicle

and drove out of the parking lot.

   D. Surveillance of MINOR’s Residence

       19.     Through investigation, it was determined that MINOR’s home address was 12644

Grey Eagle Court, Apartment # [Redacted], Germantown, Maryland 20874. On Thursday, December

2, 2021, at approximately 3:51 PM, ATF SA Orlando Mora conducted surveillance around the area

of 12644 Grey Eagle Court, Germantown, Maryland. At approximately 4:25 PM, SA Mora observed

a white Ford SUV, bearing Maryland tag 2EE8209, park near building 12644. This white Ford SUV

was consistent with the white SUV seen in the store surveillance video from Engage Armament. SA

Mora then observed an individual matching MINOR’s description exit the driver’s side of the

vehicle.




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   E. Surveillance and Investigative Stop

       20.     On December 3, 2021, ATF SA Matt Hopkins and SA Brett Mervis conducted

surveillance around MINOR’s residence, 12644 Grey Eagle Court, apartment [Redacted],

Germantown, Maryland 20874. SA Hopkins and SA Mervis located the white Ford SUV with dark

colored wheels, bearing Maryland tag 2EE8209, in the parking lot of the apartment complex.

       21.     At approximately 12:52 PM, Engage Armament called MINOR to inquire when he

would be picking up GUN C, which he had purchased on November 26, 2021. MINOR said he

would come to pick up the firearm in approximately an hour and a half.

       22.     At approximately 2:14 PM, SA Mervis observed MINOR, wearing a black shirt and

black pants, walk to and enter the white Ford SUV, bearing Maryland tag 2EE8209, and drive out of

the parking lot. SA Hopkins followed MINOR onto I-270 South and continued surveillance of

MINOR until approximately 2:26 PM.

       23.     At approximately 2:37 PM, Your affiant observed a white Ford SUV, bearing

Maryland tag 2EE8209, pull into the parking lot of Engage Armament and MINOR exit the driver’s

seat of the vehicle. Your affiant observed MINOR enter the building that contains Engage

Armament, and approximately nine minutes later observed MINOR exit while carrying a black bag

in his left hand and get into the driver’s seat with the black bag. MINOR then sat in his vehicle for

approximately thirteen minutes. At approximately 3:04 PM, Your affiant observed MINOR pull out

of the parking lot.

       24.     Continuous mobile surveillance of MINOR’s vehicle was conducted until

approximately 3:30 PM, when an investigative stop of MINOR was conducted by Montgomery

County Police marked units near 12609 Wisteria Drive, Germantown, Maryland 20874.

Montgomery County Police units directed MINOR to exit the vehicle. An ATF Agent contacted



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MINOR and told him that another ATF Agent would like to speak with him about a firearm

purchase.

   F. Consensual Interview of MINOR

       25.     On December 3, 2021, at approximately 3:33 PM, Your affiant and ATF SA Moss

interviewed MINOR about his recent firearm purchases.

       26.     MINOR stated that he currently resides at 12644 Grey Eagle Court, Apartment #

[Redacted], Germantown, MD 20874 and that he was not currently employed; Rather he bought and

sold items on internet websites and did snow removal.

       27.     MINOR stated he had one (1) Glock 17, 9mm pistol at the apartment and the one (1)

Glock 30, .45 ACP pistol (GUN C), that he had purchased earlier that day, in his vehicle.

       28.     MINOR stated that he reported a firearm, GUN B, stolen on Friday (11/26/2021) or

Saturday (11/27/2021), and that he reported it stolen the same day it was missing.

       29.     MINOR stated that his first firearm purchase was a Steyer M40 in October 2020, and

that he had traded that firearm into either Atlantic Guns or United Gun Shop to buy a Glock 17.

       30.     MINOR stated that he was aware that the firearm he had reported stolen had been

recovered, and that he had received an anonymous phone call about the firearm through a social

media platform on his cell phone. He stated that he saw a photograph of the firearm on an Instagram

page for Washington, D.C. area news and then checked his closet, realized the firearm was missing,

and reported it stolen.

       31.     MINOR stated that there are a few firearms which he had given to family members,

so they can protect themselves. He then stated that he would give these people firearms to defend

their houses. When asked how many firearms he had given to people, MINOR stated approximately




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five or six. MINOR stated that he would be able to get the firearms back, but MINOR was hesitant

to give any information about family members to whom he had given the firearms.

        32.     MINOR stated that he was aware that the firearm which had been recovered was used

in some sort of altercation or shoot out. Your affiant then explained it had been used in a Police

Officer involved shooting.

        33.     MINOR stated that he had given approximately five to six firearms, including Glock

and Taurus pistols, to a business associate named “Tiffany.” He stated that he met her at Engage

Armament, but she did not go into the store. He stated that he had not spoken to Tiffany in several

months and had last given her a firearm in June or July of 2021. He stated that Tiffany was not

giving MINOR anything in exchange for the firearms and that he knew Tiffany through an

acquaintance. He stated he had conducted two transactions with Tiffany of two to three firearms at a

time.

        34.     MINOR stated that he had not kept any records of his firearms being transferred to

anyone to whom he had given them. He then stated that he did not sell any of the firearms. Your

affiant asked MINOR if anyone had ever approached him and asked him to buy them a firearm;

MINOR replied he had people still writing him that wanted him to sell them a firearm, but he had

not sold them a firearm. He further stated that he was aware the correct way to do firearm transfers

was through an FFL, and he knew he was not doing the right thing when he was transferring

firearms to other individuals. SA Moss asked MINOR why he would not transfer the firearms

through an FFL to these individuals, he stated that he was worried that some of them would not pass

the background check.

        35.     MINOR stated that he had bought firearms with the intention of giving them directly

to a friend or family soon after purchasing them, even if he did not get payment.



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       36.     MINOR stated that prior to the day he was stopped and interviewed, the last time he

purchased a firearm was in July or August of 2021. He then stated that he told people he was not

giving them more firearms, because he knew that eventually someone was going to come to him and

say that firearms in his name, were out there, meaning the firearms were with other people and used

in the community.

       37.     MINOR asked your affiant about what he was facing criminally, and your affiant

paraphrased the warning statement at the top of page 1 of the ATF Form 4473 (May 2020 Edition),

which states, “The information you provide will be used to determine whether you are prohibited by

Federal or State law from receiving a firearm. Certain violations of the Gun Control Act, 18 U.S.C.

921 et. seq., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine. Any

person who exports a firearm without a proper authorization from either the Department of

Commerce or the Department of State, as applicable, is subject to a fine of not more than $1,000,000

and up to 20 years imprisonment.”

       38.     MINOR stated that one of the main individuals to whom he had given firearms to was

his cousin, CONSPIRATOR-1, who was currently in jail, because CONSPIRATOR-1 was involved

in a shootout. He stated that he had given CONSPIRATOR-1 approximately eight (8) firearms, had

met him a few times in Northwest D.C. and had last met with CONSPIRATOR-1 in August 2021.

He said CONSPIRATOR-1 is from Northeast D.C. A check of law enforcement databases showed

that CONSPIRATOR-1 had a listed address of 2100 Martin Luther King, Jr Avenue, Unit

[Redacted], SE, Washington, D.C. associated with a Driver’s License that was issued on June 12,

2018.4 MINOR stated that he was sure that CONSPIRATOR-1 had his own firearm but would not


4
  In a Pretrial Services Report for the District of Columbia Superior Court, dated November 29,
2021, CONSPIRATOR-1 provided an address of 5201 Hayes Street, N.E., Apt. [Redacted],
Washington, D.C. 20019. This is the same address where CONSPIRATOR-1 was arrested during the
incident described in ¶¶ 10-13.
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answer why he was giving CONSPIRATOR-1 additional firearms. MINOR stated that he had given

CONSPIRATOR-1 approximately one (1) Glock 19X, two (2) Taurus, one (1) Draco, and two (2)

Glock 23 firearms in Mid-Summer of 2021. CONSPIRATOR-1 is a prohibited person because

CONSPIRATOR-1 was previously convicted of Assault with a Dangerous Weapon (Gun) in 2012

and Accessory After the Fact to Murder I While Armed in the early 1990's..

       39.     MINOR stated that he had last seen CONSPIRATOR-1 in August 2021 at MINOR’s

apartment and that CONSPIRATOR-1 had known where MINOR kept his firearms. MINOR

explained the circumstances that he was aware of for the firearm that had been recovered in

conjunction with CONSPIRATOR-1’s recent arrest (GUN B) and how he arrived at the conclusion

that the firearm might have been one of his firearms, so he then reported it stolen. See ¶ 13. MINOR

stated that he knew CONSPIRATOR-1 had GUN B, because he had actually given

CONSPIRATOR-1 GUN B, and it had not been stolen as he previously claimed. He estimated he

gave CONSPIRATOR-1 GUN B in July or August of 2021.

       40.     MINOR stated that in 2015, he purchased a shotgun, which his brother has. He stated

his brother is not a felon but has a criminal record, and has MINOR’s shotgun, because he cannot

buy his own firearm. A query of law enforcement databases for the criminal records of MINOR’s

known brother showed that he was arrested in Maryland for the charge of Handgun on Person on

May 29, 2011, and was found guilty on October 25, 2011. This conviction would have made Minor’s

brother prohibited from lawfully possessing a firearm.

       41.     MINOR stated he purchased the Glock 17 pistol, which he had at the apartment, in

July or August 2021 from Engage Armament. Your affiant drove his government vehicle with SA

Moss and MINOR to MINOR’s apartment complex. MINOR walked into his apartment and exited a

few minutes later carrying a pistol case in his hand. Your affiant took the case, looked inside it, and



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removed a Glock 17 Gen 5, 9mm semi-automatic pistol, bearing serial number BTBT052

(hereinafter “GUN D”).

       42.     Your affiant asked MINOR to consent to search his bedroom in his mother’s

apartment. Once inside MINOR’s bedroom, your affiant filled out an ATF Consent to Search Form

for MINOR’s bedroom, read it aloud and MINOR signed it.

       43.     Your affiant, in the presence of ATF SA Niccolo Coia and MINOR, conducted a

search of MINOR’s bedroom. Your affiant seized a black plastic case for Springfield XD with a

label attached for a GUN B; one hundred and fifteen (115) rounds of assorted ammunition in the

manufacturers’ boxes; nine (9) empty pistol magazines of various calibers and capacities; two (2)

Glock magazines which contained a total of an additional thirty (33) rounds of 9mm ammunition;

two (2) Atlantic Guns layaway receipts and other assorted firearms parts and accessories.

       44.     MINOR consented to a search of his Apple iPhone 13 Pro Max. Law enforcement

took MINOR’s iPhone in order to conduct the search, as detailed below in Section H. MINOR stated

he also had a phone number of 240-***-2250.

       45.     GUN C, along with original Glock box and two magazines, were recovered by law

enforcement from MINOR’s Ford Escape SUV, bearing Maryland tag 2EE8209, following the

investigative stop.




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   G. Follow-on Interview of MINOR

       46.     On December 6, 2021, ATF Your affiant and SA Moss conducted a follow-on

interview of MINOR, during which MINOR stated that he had retrieved a Taurus 24/7 Pro pistol and

was willing to give it to the ATF Agents. He stated that the firearm was currently at his apartment,

but it had not been in there on December 3, 2021, when ATF searched his bedroom. He stated that

he had gotten the firearm back from the unnamed individual he had given it to, and that it was the

only firearm that he had given this individual but was not willing to identify that individual.

       47.     Your affiant then instructed MINOR to drive to back his apartment, retrieve the

firearm and then meet the Agents in Germantown, MD. Your affiant and SA Moss, followed

MINOR back to his apartment, waited while MINOR went into his apartment, retrieved the firearm,

and then reentered his own vehicle. They then followed MINOR to a parking lot and resumed the

interview.

       48.     MINOR handed over a Taurus 24/7 Pro, 9mm pistol, bearing serial number

TAN19946, along with one (1) loose magazine and eight (8) loose rounds of 9mm ammunition.

       49.     During    the   interview,   your    affiant   showed    MINOR       a   photograph   of

CONSPIRATOR-1, which MINOR positively identified as CONSPIRATOR-1. He stated that he

had last seen CONSPIRATOR-1 in or around August 2021 and had given him a firearm then. He

stated that they met in the parking lot of a park on McArthur Boulevard in Northwest D.C., and that

every time he met with CONSPIRATOR-1 it was in approximately the same spot. He stated that he

did not know if CONSPIRATOR-1 was getting firearms from other people.

       50.     MINOR stated that he had met “Tiffany” through CONSPIRATOR-1 and had last

seen “Tiffany” at a firearms store in or around July 2021. He stated that the four or five firearms

which he had given to “Tiffany” were for CONSPIRATOR-1, and that CONSPIRATOR-1 had sent



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“Tiffany” to pick up the firearms for him. He stated that the first two times he had met Tiffany were

in his neighborhood in Maryland, and after that he only met with CONSPIRATOR-1 in D.C.

       51.     MINOR claimed that he saw information on an Instagram newsfeed and figured out

that another firearm had been recovered. He stated that he gave CONSPIRATOR-1 a black and

green Taurus G2C 9mm subcompact pistol, that was later recovered by law enforcement. He stated

the purchased that firearm in or around July 2021 and gave it directly to CONSPIRATOR-1.

       52.     MINOR stated the majority of the firearms he had given CONSPIRATOR-1 had been

ones he had sitting around, and that CONSPIRATOR-1 had asked him for the firearms. MINOR

stated that neither CONSPIRATOR-1, nor “Tiffany” ever gave him money for the firearms.

   H. Search of MINOR’s Apple iPhone

       53.     On December 6, 2021, SA Mora forensically processed MINOR’s Apple iPhone 13,

pursuant to a signed ATF Form 3220.11 Consent to Search by owner of the device.

       54.     The cellular device was forensically processed successfully. The data extracted was

placed onto a USB storage media and was given to ATF SA Moss and your affiant for analysis. This

search yielded several phone numbers associated with the mobile handset including 240-***-2250

and 240-***-5266. The Search only obtained information attributable to MINOR from on or about

November 5, 2021, onward and did not contain any information from the summer of 2021. Although

no direct communication between CONSPIRATOR-1 and MINOR was located, agents observed a

video, which was taken on November 26, 2021, at approximately 14:49:31, a time while MINOR

was inside of Engage Armament, of a Glock 30 being held up. At approximately 16:21, this same

video clip is shared by MINOR in a text conversation with multiple unknown associates that he

communicated within a text message string in which he then stated to his associates that he had

purchased a Glock 30. Based on the make and model of the firearm, and date and time of the video



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being taken, and of the text message, your affiant believes the firearm shown in video and described

in the message is GUN C.

   I. Execution of the Search Warrant of CONSPIRATOR-1’s Cell Phone

       55.      On December 10, 2021, ATF SA Rebekah Moss, took receipt of CONSPIRATOR-1’s

blue Motorola Moto G Play cell phone, which was recovered by law enforcement following his

arrest on November 27, 2021.

       56.      On January 12, 2022, your affiant swore out a District of Columbia District Court

Search Warrant (22-sw-004) for CONSPIRATOR-1’s blue Motorola Moto G Play cell phone. Later

that same day, ATF Task Force Officer Eric Roche extracted the contents of the blue Motorola Moto

G Play cell phone utilizing Cellebrite UFED and Cellebrite Physical Analyzer and determined the

telephone number of 202-***-9849.

       57.      Your affiant conducted a search of the extraction, and a report was generated showing

the some of the discussions between CONSPIRATOR-1 and some of his contacts. Some of the

pertinent conversations are listed:

       58.      On June 26, 2021, CONSPIRATOR-1 discussed the potential sale of a firearm with a

contact labeled as “Te”. CONSPIRATOR-1 sent “Te” three different images of firearms.

Type         Direction Date & Time          Party                   Description

Instant  Incoming      6/25/2021 4:07:33 From: ***-***-             Wassup
Messages               PM(UTC+0)         ****Te

Instant  Incoming      6/25/2021            From: ***-***-          Hold up
Messages               11:25:23             ****Te
                       PM(UTC+0)

Instant  Outgoing      6/25/2021            To: 202***9849          I have shit to do
Messages               11:26:16             Donny
                       PM(UTC+0)



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Instant  Incoming    6/25/2021     From: ***-***-        I'm 5 min from my car my mom
Messages             11:26:35      ****Te                otp
                     PM(UTC+0)

Instant  Outgoing    6/25/2021     From: +1202***9849 image000000.jpg
Messages             11:29:41      Donny
                     PM(UTC+0)     To: ***-***-**** Te [Silver and black Lorcin pistol]




Instant  Incoming    6/25/2021     To: ***-***-****Te
Messages             11:30:06
                     PM(UTC+0)

Instant  Outgoing    6/25/2021     To: 202***9849        Is this for you
Messages             11:30:22      Donny
                     PM(UTC+0)

Instant  Incoming    6/25/2021     From: ***-***-        Yes this is for me ����
Messages             11:30:32      ****Te
                     PM(UTC+0)

Instant  Outgoing    6/25/2021     To: 202***9849        Ok
Messages             11:31:17      Donny
                     PM(UTC+0)

Instant  Outgoing    6/25/2021     To: 202***9849        Do you like it
Messages             11:31:43      Donny
                     PM(UTC+0)

Instant   Incoming   6/25/2021     From: ***-***-        What is it ?


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Messages            11:36:48        ****Te
                    PM(UTC+0)

Instant  Incoming   6/25/2021       From: ***-***-     Send an addy too
Messages            11:37:21        ****Te
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     9mm
Messages            11:37:21        Donny
                    PM(UTC+0)

Instant  Incoming   6/25/2021       From: ***-***-     Yeah what kind 9mm
Messages            11:37:39        ****Te
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     Luqa 9
Messages            11:38:55        Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     5201 Hayes St.
Messages            11:39:46        Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     N.E
Messages            11:40:10        Donny
                    PM(UTC+0)

Instant  Incoming   6/25/2021       From: ***-***-     How much
Messages            11:40:15        ****Te
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     You no or we can talk about it
Messages            11:41:00        Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     You and me going
Messages            11:46:24        Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021       To: 202***9849     Can not bring no one else
Messages            11:46:52        Donny
                    PM(UTC+0)



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Instant  Outgoing   6/25/2021     To: 202***9849        We not going to give it to me
Messages            11:48:10      Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021     To: 202***9849        Or he not going to give it to me
Messages            11:48:23      Donny
                    PM(UTC+0)

Instant  Outgoing   6/25/2021     To: 202***9849        Do not tell no one that I'm doing
Messages            11:50:24      Donny                 this no one
                    PM(UTC+0)

Instant  Outgoing   6/25/2021     To: 202***9849        My man of a man have a g17 with
Messages            11:52:17      Donny                 three clips for 11
                    PM(UTC+0)

Instant  Outgoing   6/25/2021     From: +202***9849     IMG_20210625_195400316.jpg
Messages            11:54:16      Donny
                    PM(UTC+0)     To: ***-***-**** Te   [Glock 17 Gen5 9mm pistol and
                                                        three pistol magazines]




Instant  Incoming   6/25/2021     To: ***-***-****Te
Messages            11:54:42
                    PM(UTC+0)

Instant  Outgoing   6/25/2021     To: 202***9849        Brand new
Messages            11:56:27      Donny
                    PM(UTC+0)


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Instant  Outgoing    6/25/2021          To: 202***9849         I have never called in I haven't
Messages             11:58:26           Donny                  ever met someone too for 11
                     PM(UTC+0)

Instant  Outgoing    6/26/2021          From: +202***9849      IMG_20210625_195923969.jpg
Messages             12:00:04           Donny
                     AM(UTC+0)          To: ***-***-**** Te    [red & silver Taurus pistol in a
                                                               black holster]




Instant  Incoming    6/26/2021          To: ***-***-****Te
Messages             12:00:32
                     AM(UTC+0)

Instant  Outgoing    6/26/2021          To: 202***9849         I'm having called call me back
Messages             12:01:50           Donny
                     AM(UTC+0)

Instant  Incoming    6/26/2021          From: ***-***-         I'm otp my name got an xd for me
Messages             12:03:34           ****Te
                     AM(UTC+0)

Instant  Outgoing    6/26/2021          To: 202***9849         Ok lm out
Messages             12:04:39           Donny
                     AM(UTC+0)


      59.     Within this text message conversation was attached three separate photographs of

firearms that CONSPIRATOR-1 sent to this contact “Te”. Two photographs in particular, a Glock

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17 Gen5 9mm pistol with three pistol magazines and a red & silver Taurus pistol in a black holster

will be further discussed in Sections K & L.

       60.      On July 30, 2021, CONSPIRATOR-1 sent a message to a contact labeled as “Lon”,

with screenshot of the Instagram webpage of Atlantic Guns showing an AK-47 style pistol and the

name of Demetrius MINOR listed across the top of the screenshot. This screenshot would have been

taken when MINOR’s Instagram account was logged into and looking at the Instagram webpage of

Atlantic Guns, the Federal Firearms Licensee located in Rockville, MD from where MINOR has

purchased firearms.

Type         Direction Date & Time         Party                 Description

Instant  Outgoing      7/30/2021           From: +1202***9849 Screenshot_20210730-
Messages               8:30:42             Donny              162952.png
                       PM(UTC+0)           To: ***-***-****
                                           Lon                [Instagram webpage of Atlantic
                                                              Guns showing an AK style pistol]




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        61.      Between August 29 and September 15, 2021, CONSPIRATOR-1 was contacted on

 several occasions by a contact labeled as “Cuz Gun” with phone number (240) ***-2250. This is the

 number that was found associated with the cell phone that was recovered from MINOR on

 December 3, 2021, and was used by MINOR across three different wireless telecommunication

 carriers (AT&T, Verizon, & T-Mobile). As previously stated, see ⁋ 38, MINOR and

 CONSPIRATOR-1 are cousins.

Type          Direction Date & Time       Party                  Description

Instant  Incoming      8/29/2021          From: +1240***2250 Who this??
Messages               10:51:36           Cuz Gun
                       PM(UTC+0)

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Instant          Incoming   9/6/2021 4:13:27   From: +1240***2250   I can meet you in like Wheaton
Messages                    PM(UTC+0)          Cuz Gun              again
Instant          Incoming   9/6/2021 4:14:00   From: +1240***2250   Ima have the car today
Messages                    PM(UTC+0)          Cuz Gun
Instant          Incoming   9/7/2021 6:53:21   From: +1240***2250   Where u want me to meet u at?
Messages                    PM(UTC+0)          Cuz Gun
Instant          Incoming   9/7/2021 9:04:52   From: +1240***2250   I’m here
Messages                    PM(UTC+0)          Cuz Gun
Instant          Incoming   9/15/2021          From: +1240***2250   You still out VA??
Messages                    5:14:33            Cuz Gun
                            PM(UTC+0)

           62.      On September 25, 2021, CONSPIRATOR-1 was contacted by a phone number

 associated with Cash App – a mobile payment service that allows users to transfer money to one

 another using mobile devices – when he received multiple text message alerts. On March 30, 2022,

 Block, Inc. returned records for the Cash App accounts associated with MINOR, which showed that

 MINOR used the Display Name of “BigHam Minor” within the application. The following chart

 depicts the financial transactions between CONSPIRATOR-1 and MINOR:


Type             Direction Date & Time         Party                Description

Instant          Incoming   9/25/2021          From: ***-***-****   Cash App: The card ending in 0042
Messages                    4:44:36                                 has been unlinked from your Cash
                            PM(UTC+0)                               App account

Instant          Incoming   9/25/2021          From: ***-***-****   Cash App: For your protection, your
Messages                    4:46:50                                 $2,000 payment to BigHam Minor
                            PM(UTC+0)                               was refunded. $2,000 has been
                                                                    returned to your bank account and
                                                                    will be available Wednesday.

Instant          Incoming   9/25/2021          From: ***-***-****   Cash App: BigHam Minor requested
Messages                    4:48:42                                 $2,000. Open Cash App to approve
                            PM(UTC+0)                               or decline




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Instant          Incoming   9/25/2021        From: ***-***-****         Cash App: For your protection, your
Messages                    4:49:26                                     $2,000 payment to BigHam Minor
                            PM(UTC+0)                                   was refunded. $2,000 has been
                                                                        returned to your bank account and
                                                                        will be available Wednesday.

Instant          Incoming   9/25/2021        From: ***-***-****         Cash App: BigHam Minor requested
Messages                    5:18:19                                     $1,000. Open Cash App to approve
                            PM(UTC+0)                                   or decline

Instant          Incoming   9/25/2021        From: ***-***-****         Cash App: BigHam Minor canceled
Messages                    5:23:20                                     the request for $1,000
                            PM(UTC+0)


           63.      Also found on CONSPIRATOR-1 cell phone were photographs of payroll checks

  from Palisades Veterinary Clinic, LLC, located at 5138 MacArthur Boulevard, NW, Washington,

  D.C. 20016, referenced in Section O below.

     J. Retrieval of Records from Engage Armament

           64.      On January 20, 2022, your affiant contacted Engage Armament and spoke with the

  FFL co-owner, Witness-1. Witness-1 stated that Engage Armament had completed a work order by

  MINOR to “Cerakote” a firearm. Cerakote is a specialized coating that can be applied to wood,

  polymers, metals, and plastics that is composed of a polymer-ceramic compound. It is popular

  among some firearm owners to have their firearms “Cerakoted” a desired color.

           65.      On January 26, 2022, your affiant went to Engage Armament to retrieve copies of

  receipts for a firearm that was purchased by MINOR and work orders that he had the FFL complete.

  Your affiant was provided copies of the receipts for the following:

Transaction Manufacturer Model            Caliber     Type        Serial Number        Transaction Type
Date
6/1/2021    Taurus Armas G3C              9mm         Pistol      ACB520645            Work Order
                                                                                       Cerakote Frame
                                                                                       Aluminum /Crimson
6/2/2021         [Taurus]       G3        9mm         Pistol      ACA456782            Work Order

                                                    25
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                Armas                                                                 Cerakote Frame
                                                                                      Coyote Brown
6/11/2021       Glock          17 Gen5    9mm          Pistol      N/A                Deposit
6/19/2021       Glock          17 Gen5    9mm          Pistol      BTBN564            Payment
6/19/2021       [Taurus]       G3         9mm          Pistol      ACA456782          Payment for
                Armas                                                                 Cerakote
6/22/2021       Taurus Armas   G3C        9mm          Pistol      ACB520645          Payment for
                                                                                      Cerakote

       K. Follow-On Interview of MINOR

          66.     On January 26, 2022, your affiant conducted a follow-on interview of Demetrius

  MINOR, during which he described the place where he had met CONSPIRATOR-1 in Washington,

  D.C., to transfer firearms as a small parking lot near McArthur Boulevard, where people would park

  and then walk up a hill. MINOR stated that the two met inside D.C.

          67.     MINOR described “Tiffany” as a black female with dreadlocks, with the same skin

  tone as himself, and no scars, marks, glasses, or tattoos that he noticed. He stated that he met Tiffany

  once or twice. MINOR stated that he never met Tiffany in D.C., and that he met her at various

  places, including his residence. He stated that Tiffany had come to pick up firearms for

  CONSPIRATOR-1, and that CONSPIRATOR-1 had told him that CONSPIRATOR-1 was sending

  Tiffany to him.

          68.     ATF identified a possible identity of “Tiffany”. Upon your affiant showing MINOR

  the D.C. Driver’s License photograph of Tiffany during this interview, MINOR positively identified

  Tiffany as the known person depicted on the license.

          69.     Your affiant described to MINOR a series of firearm purchases MINOR had made in

  June of 2021. Your affiant showed MINOR a photograph of a Glock 17 Gen5, 9mm pistol which

  was found within CONSPIRATOR-1’s cell phone. MINOR stated that he had not taken that

  photograph, nor had he taken a photograph of that Glock 17 firearm and sent it to CONSPIRATOR-

  1.

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        70.      After MINOR stated that he had a Taurus G3C “Cerakoted” the color red at Engage

Armament, your affiant then showed MINOR a photograph of a red Taurus firearm in a holster

which was also found on CONSPIRATOR-1’s cell phone. MINOR stated that it was a Taurus G3C

and that the color of the firearm was similar to the color of the firearm that he had “Cerakoted”. He

stated that he did not take that photograph, nor had he sent it to CONSPIRATOR-1. But MINOR

stated that both firearms that he had been shown photographs of were given to CONSPIRATOR-1 in

different transactions.

    L. Historical Cell Site Data Search Warrant and Analysis

        71.      On May 24, 2022, your affiant swore out a District of Columbia District Court Search

Warrant (22-SC-1408) for the historical cell site location data for the cell phones of MINOR and

CONSPIRATOR-1. The Search Warrant was served to the cellular telecommunication companies of

AT&T, T-Mobile & Verizon on May 25, 2022.

        72.      AT&T, T-Mobile & Verizon provided returns for MINOR’s phone number of (240)

***-2250. T-Mobile provided a return for the phone number (202) ***-9849 that was associated

with CONSPIRATOR-1.

        73.      Your affiant reviewed the Search Warrant returns for the phone numbers used by

MINOR and CONSPIRATOR-1 and had a Metropolitan Police Department Intelligence Research

Specialist analyze and map the data to identify a meeting location of MINOR and CONSPIRATOR-

1 within the District of Columbia.

        74.      This review of MINOR’s and CONSPIRATOR-1’s historical cell site data revealed

that:

              a. On August 19, 2021, approximately in the late morning, MINOR and
                 CONSPIRATOR-1 were both in the vicinity of a cell tower near MacArthur
                 Boulevard, in N.W. Washington, D.C.


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             b. On August 27, 2021, at approximately 10:15 AM, MINOR and CONSPIRATOR-1
                were both in the vicinity of a cell tower near MacArthur Boulevard, in N.W.
                Washington, D.C.

             c. On September 7, 2021, at approximately 5:31 PM, MINOR and CONSPIRATOR-1
                were both in the vicinity of a cell tower near MacArthur Boulevard, in NW
                Washington, D.C. [Note: In Paragraph 66, two text messages are listed on September
                7, 2021, the first would have been sent at approximately 2:53 PM local, and then the
                second at 5:04 PM local. This second message would have been approximately 25
                minutes prior to both MINOR and CONSPIRATOR-1 being in the vicinity of the cell
                tower near MacArthur Boulevard, in N.W. Washington, D.C.]

             d. On September 27, 2021, at approximately 1:44 PM, MINOR and CONSPIRATOR-1
                were both in the vicinity of a cell tower near MacArthur Boulevard, in NW
                Washington, D.C.

    M. Receipt of Financial Records

       75.      Andrews Federal Credit Union provided records for CONSPIRATOR-1’ financial

accounts. CONSPIRATOR-1 made multiple cash withdrawal and transactions between June 1 and

September 30, 2021, to be discussed further below.

    N. Additional Firearm Recoveries and Current Attempted Purchase

       76.      Since interviewing MINOR on January 26, 2022, there has been approximately five

(5) additional firearms which have been recovered by law enforcement in Maryland and

Washington, D.C.5, and ATF has conducted traces which have shown that MINOR was the

5
  For example, on May 26, 2022, a male was stabbed with a knife near the Hyattsville, MD Metro
Station. An uninvolved witness followed the suspect as the suspect fled to and then in a gray 2013
Toyota Rav 4, with MD registration of 4EV3091, form the scene of the crime back to the vicinity of
suspect’s residence which was determined to be 2902 Arundel Road, Apartment # [Redacted],
Hyattsville, MD 20712. On May 27, 2022, Hyattsville Police Department executed a search warrant
for the residence of the suspect, during which a Taurus G3C, 9mm pistol, bearing Serial Number:
ACB520645 (hereinafter “GUN E”). ATF conducted a trace of GUN E, which showed that it was
transferred from Engage Armament to MINOR on June 9, 2021. On July 13, 2022, Montgomery
County Police Department recovered Springfield Armory Hellcat 9mm pistol, bearing Serial
Number: BY589829 (hereinafter “GUN F”), during the execution of a search warrant at 1904 Erie
Street, Apartment # [Redacted], Adelphi, MD 20783, which is the residence of a defendant in an
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purchaser of the firearms from Engage Armament and Atlantic Guns between June 9, 2021, and

August 14, 2021.

       77.     Of the approximately forty (40) known firearm purchases by MINOR, he purchased a

total of twenty-two (22) firearms between June 5, 2021, and August 17, 2021. Based on the cell site

location data, your affiant submits that MINOR met with CONSPIRATOR-1 on August 19, 2021, in

Washington, D.C., just two days after that string of firearm purchases. Of the 22 firearms that were

purchased in those two and half months, seven (7) of them, including GUN A, GUN B from

CONSPIRATOR-1’s arrest, and the five mentioned in the previous paragraph, have been recovered

by law enforcement from individuals other than MINOR and MINOR was found to be in possession

of only one (1) of these firearms, GUN D.

       78.     On July 23, 2022, your affiant received information that MINOR was in an FFL

completing paperwork for an additional purchase of a handgun. With the State of Maryland’s 7-day

waiting period law, MINOR is eligible to pick up this handgun on July 30, 2022.

   O. Firearms Trafficking Trade

       79.     Based on your affiant’s training and experience in multiple investigations into

firearms trafficking MINOR’s action are consistent with a firearm trafficker for the following

reasons, including, but not limited to: (1) MINOR purchased a large number of firearms in a short

period of time; (2) MINOR purchased multiple firearms in a single transaction; (3) several of

MINOR’s purchased firearms were recovered with a short “Time to Crime” – the date of purchase

until the date of recovery by law enforcement – which is indicative of an individual purchasing a

firearm with the intent to quickly release said firearm into the black market; (4) the fact that MINOR

– who could lawfully possess firearms – lacked any proof of any physical control or dominion over


ongoing investigation in Maryland. ATF conducted a trace of GUN F, which showed that it was
transferred from Engage Armament to MINOR on August 6, 2021.
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the firearms after their purchase; and (5) MINOR’s lack of records for the allegedly private sales of

the firearms after its initial purchase. Based upon your affiant’s review of the FFL records, MINOR

has spent in excess of $31,000 for the firearms and accessories at Engage Armament alone and as

noted in paragraph 26 above, MINOR stated to ATF that he was not employed as of December 2021.

       80.     The financial records of CONSPIRATOR-1 illustrate generally that around the same

time as meeting with MINOR, CONSPIRATOR-1 will take significant amounts of cash out of his

account. For example, MINOR picked up a firearm from United Gun Shop on August 17, 2021. Two

days later, on August 19, 2021, historical cell-site location data places MINOR and

CONSPIRATOR-1 near MacArthur Boulevard, NW, Washington, D.C. On that same day,

CONSPIRATOR-1 made three (3) cash withdraws from 5185 MacArthur Boulevard, Washington,

D.C. totaling $606.00. CONSPIRATOR-1 works at the Palisades Veterinary Clinic across the street

at 5138 MacArthur Boulevard.

       81.     On August 21, 2021, MINOR picked up a firearm from United Gun Shop and then on

August 26, 2021, MINOR picked up two firearms from Engage Armament. On August 23,

CONSPIRATOR-1 withdrew $5,000.00, and then on August 24, 2021, he made two withdrawals of

$3,000.00, all from the Andrews Federal Credit Union at 1556 Alabama Avenue, SE Washington,

DC. On August 27, 2021, historical cell-site location data places MINOR and CONSPIRATOR-1

near MacArthur Boulevard, NW, Washington, D.C.

       82.     On August 28, 2021, MINOR picked up a firearm from Engage Armament. On

September 4, 2021, MINOR picked up a firearm from Atlantic Guns.               Three days later, on

September 7, 2021, CONSPIRATOR-1 made four (4) cash withdraws of $202.25, totaling to

$809.00. That same day, September 7, 2021, historical cell-site location data places MINOR and

CONSPIRATOR-1 near MacArthur Boulevard, NW, Washington, D.C.



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       83.     I know that the aforementioned firearms, including GUN B that was recovered in

connection with CONSPIRATOR-1’s arrest on November 27, 2021, constitute firearms pursuant to

Title 18, United States Code, Section 921(a)(3), were not manufactured in the District of Columbia,

and, therefore, these firearms traveled in, and/or affected interstate commerce.

                                           CONCLUSION

       Based upon the foregoing facts, I submit that probable cause exists to conclude that, on or

about August 19, 2021, MINOR, a Maryland resident, met with CONSPIRATOR-1, a D.C. resident

and convicted felon, within the District of Columbia, and knowingly transferred at least one firearm

to CONSPIRATOR-1, to include GUN B, which had traveled in and affected interstate commerce.

Additionally, there is probable cause to believe that MINOR, during the time frame described above,

was actively trafficking in firearms for profit. These facts provide probable cause to believe that

MINOR has violated: 18 U.S.C. §§ 922(a)(5) (“Interstate Transfer”), 922(d) (“Sell or Otherwise

Dispose to a Prohibited Person”), § 924(a)(1)(A) (“Illegal Dealing of Firearms”) and § 371

(“Conspiracy to Violate Federal Firearms Laws”, to include 18 U.S.C. §§ 922(a)(5), 922(d),

922(g)(1) (“Unlawful Possession of a Firearm by a Prohibited Person”), and 924(a)(1)(A)).




                                      ______________________________________________
                                      John C. Donovan, Special Agent
                                      Bureau of Alcohol, Tobacco, Firearms and Explosives



Respectfully submitted and attested to
in accordance with the requirements of

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Fed. R. Crim. P. 4.1 via telephone on
July 29, 2022.
                Digitally signed by G.
                Michael Harvey
                Date: 2022.07.29 13:42:46
_______________________________________
                -04'00'

The Honorable G. Michael Harvey
United States Magistrate Judge




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